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IN THE uNITED sTATEs DISTRICT CoURT "L"D 5’/--_.." 00
FoR THE WESTERN DISTRICT oF TENNESSEBS ,qUG 17 4

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MARK WALKER,
Piaimiff,
Vs. NO. 05“1124-T/An

CORRECTIONS CoRPoRATIoN oF
AMERtCA, ET AL.,

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Defendants.

 

ORDER DENYING l\/IOTION FOR CONTINUANCE TO RESPOND
AND '
ORDER TO FILE FINANCIAL DOCUMENTATION
OR PAY FULL APPELLATE FILING FEE

 

Plaintiff Marl< Walker, an inmate at the Hardeman County Correctional Facility in
Whiteville, Tennessee, filed apro se complaint pursuant to 42 U.S.C. § 1983. On July l4,
2005, the Court dismissed the case Without prejudice pursuant to 42 U.S.C. § l997e(a). The
order of dismissal certified that an appeal Would not be taken in good faith. Judgment Was
entered on July 20, 2005.

On August 5, 2005, the United States Court oprpeals for the Sixth Circuit received
a letter from the plaintiff in Which he stated his intent to tile an appeal The Clerk of the
Court of Appeals treated the letter as a notice of appeal and forwarded the document to the

Clerk of this Court in accordance With Federal Rule of Appellate Procedure 4(d), Which

This document entered on the docket sh et in cpmplia ce
with Ru|e 58 and/or?Q (a) FRCP on 3 s ` § ’§ 2 §§

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provides that “[i]fa notice ofappeal . . . is mistakenly filed in the court ofappeals, the clerk
of that court must note on the notice the date when it was received and send it to the district
clerk The notice is then considered filed in the district court on the date so noted.”

On August 8, 2005, this Court received and filed plaintiffs motion seeking a
“continuance” to respond to the order of dismissal in that motion, plaintiff asks for an
extension of time in which to file an “objection, and reconsider motion, and motion to

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correct errors. Motions seeking relief from an order of dismissal and/or judgment are
authorized only under Rule 59(€) or 60(b) of the Federal Rules of Civil Procedure. No
extensions of time may be granted under either of those rules. E Fed. R. Civ. P. 6(b)
(district court “may not extend the time for taking any action under Rules 5 0(b) and (c)(Z),
52(b), 59(b), (d) and (e), and 60(b), except to the extent and under the conditions stated in
them”). Therefore, plaintist motion for an extension of time is DENIED.

As indicated, the Sixth Circuit has treated the letter received from the plaintiff on
August 5, 2005 as a notice of appeal. Under the Prison Litigation Reform Act of 1995
(“PLRA”), 28 U.S.C. § lQlS(a)-(b), prisoners who file a civil appeal must pay the full
appellate filing fee of 3255. The prisoner may, however, be able to take advantage of the
installment payment method of § 1915(b). See McGore v. Wrig_glesworth, 114 F.3d 601,
604 (6“‘ Cir. 1997) (“[w]hen an inmate seeks pauper status, the only issue is whether the

inmate pays the entire fee at the initiation of the proceeding or over a period of time under

an installment plan. Prisoners are no longer entitled to a waiver of fees and costs.”) ln_

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addition, the United States Court of Appeals for the Sixth Circuit has held that a certification
that an appeal is not taken in good faith does not preclude an indigent prisoner plaintiff from
using the installment procedures of§ 1915(b) to pay the filing fee. Me, 114 F.3d at
610-1 1.

ln order to take advantage of the installment procedures, a prisoner plaintiff must
properly complete and submit to the district court an application to proceed in forma
pauperis with Form 4 from the Appendix of Forrns found in the Federal Rules of Appellate
Procedure, or an affidavit which contains the same detailed information found in Form 4.
M)r_e, 1 14 F.3d at 610. The prisoner must also submit a certified prison trust account
statement, showing all activity in his account for the past six months, and specifically
showing: (1) the average monthly deposits and (2) the average monthly balance, for the six
months immediately prior to the filing of the notice of appeal, and (3) the account balance
when the notice of appeal was submitted

ln this case, plaintiff has not submitted an in forma pauperis affidavit or a prison trust
fund account statement Therefore, at the present time, plaintiff is not eligible to take
advantage of the installment payment procedures of § 191 S(b), Plaintiff is, however, liable
to the Court for the full $255 appellate filing fee, which accrued at the moment the notice
of appeal was filed. Accordingly, plaintiff is hereby ORDERED to submit an fn forma
pauperis affidavit and a certified trust account statement, or submit the full $255 appellate

filing fee, to the following address within 30 days after the entry of this order1

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Clerk, United States District Court, Western District of Tennessee
262 U.S. Courthouse, lll S. Highland Ave., Jackson, TN 38301

If plaintiff needs additional time to file the required documents, he may, within 30 days after
the entry of this order, request an extension of time from this Court. MQM, 114 F.3d at
609. Any extension granted may not exceed an additional 30 days. l_d.

lf plaintiff fails to file the required documentation in a timely manner, the Court will
assess the entire filing fee without regard to the installment payment procedures and will
notify the Court of Appeals, who may dismiss the appeal for failure to prosecute under Fed.
R. App. P. 3(a)(2). If dismissed under these circumstances, the appeal will not be reinstated
despite the subsequent payment of the full filing fee and regardless of any request for pauper
status. However, if plaintiff timely submits the proper documentation, and the Court finds
that plaintiff is indeed indigent, then the Court will assess the filing fee in accordance with
the installment procedures of§ 1915(b).

The Clerk will provide the plaintiff a copy of the correct affidavit form with this
order. The Clerk also is directed to mail a copy of this order to the United States Court of
Appeals for the Sixth Circuit.

lT IS SO ORDERED.

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LH\YES D. ToDD
TED sTATEs DISTRICT JUDGE

/GMMF'

DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01124 was distributed by fax, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Mark Walker

HCCF

292656

P.O. Box 549

2520 Union Springs Rd.
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

